 

Case 1:11-cr-10018-RWZ Document 85 Filed 05/16/19 Page 1of1

AO 442 (Rev. 11/11) Arrest Warrant

FILED
IN CLERKS OFFICE
UNITED STATES DISTRICT. GOURT 3: 11

 

for the
District of Massachusetts! 5 DISTRICT COURT
STRICT OF MASS.

United States of America ms =

Vv. ) = =x
BRYAN FITZPATRICK ) CaseNo, T1ICRIOOI8RWZ 2 wr 7
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Defendant > > im ©

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ARREST WARRANT WwW m

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) BRYAN FITZPATRICK
who is accused of an offense or violation based on the following document filed with the court:

 

1 Indictment C1 Superseding Indictment 1 Information © Superseding Information © Complaint

O Probation Violation Petition rif Supervised Release Violation Petition 1 Violation Notice [© Order of the Court
This offense is briefly described as follows:

Failure to refrain from controlled substances; failure to reside in a mental health and substance abuse treatment center;
failure to participate in mental health treatment and substance abuse counseling; failure to answer truthfully.

Date: 05/14/2019

City and state: _ Boston, Mass.

 

 

 

 

This warrant was received on (date) ; : -
at (city and state) ‘

Date: ae

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OY Ub FY¥| Lf A rresting officer's signature

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